                                                           IT IS ORDERED
                                                           Date Entered on Docket: July 29, 2022




                                                           ________________________________
                                                           The Honorable Robert H Jacobvitz
                                                           United States Bankruptcy Judge
______________________________________________________________________

                          UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF NEW MEXICO

     IN RE:

            Richard Jerome Jaramillo aka Rick J. Jaramillo dba TR Power dba ABC
            Consulting dba BBF Fireworks Wholesale & Retail

                    Debtor(s)                            Case No. 22-10509-js13


                 DEFAULT ORDER GRANTING RELIEF FROM STAY
            OF PROPERTY LOCATED AT 215 Calle Roble, Santa Fe, NM 87501


            This matter came before the Court on the Motion for Relief from Stay filed on

     7/5/2022, Docket No. 25, (the “Motion”) by The Bank of New York Mellon F/K/A The

     Bank of New York as Trustee for First Horizon Alternative Mortgage Securities Trust 2004-

     AA7 Mortgage Pass-Through Certificates, Series 2004-AA7 (“Movant”). The Court, having

     reviewed the record and the Motion, and being otherwise sufficiently informed, FINDS:

            (a)     On 7/5/2022, Movant served the Motion and notice of the Motion (the

     “Notice”) on counsel of record for Debtor, Richard Jerome Jaramillo, and the case trustee,

     Tiffany M. Cornejo, (the “Trustee”) by use of the Court’s case management and electronic

                                                                                File No. NM-22-171102
                                                                          Order, Case No. 22-10509-js13
  Case 22-10509-j13      Doc 31     Filed 07/29/22     Entered 07/29/22 17:10:06 Page 1 of 4
  filing system for the transmission of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM

  LBR 9036-1, and on the Debtor and US Trustee by United States first class mail, in

  accordance with Bankruptcy Rules 7004 and 9014.

          (b)     The Motion relates to the following property:

                  215 Calle Roble
                  Santa Fe, NM 87501

          (c)     The Notice specified an objection deadline of 21 days from the date of service

  of the Notice, to which three days was added under Bankruptcy Rule 9006(f);

          (d)     The Notice was sufficient in form and content;

          (e)     The objection deadline expired on 7/26/2022.

          (f)     As of 7/27/2022, neither the Debtor nor the Trustee, nor any other party in

  interest, filed an objection to the Motion;

          (g)     The Motion is well taken and should be granted as provided herein; and

          (h)     By submitting this Order to the Court for entry, the undersigned counsel for

  Movant certifies under penalty of perjury that on 7/27/2022, McCarthy & Holthus, LLP

  searched the data banks of the Department of Defense Manpower Data Center (“DMDC”)

  and found that the DMDC does not possess any information indicating that the Debtor and

  non-filing Co-Debtors Thomas Young and Connie Young and Robert M. Siqueiros and

  Eugene J. Bachicha are currently on active military duty of the United States.

          IT IS THEREFORE ORDERED:

          1.      Pursuant to 11 U.S.C. §362(d), Movant and any and all holders of liens

  against the Property, of any lien priority, are hereby granted relief from the automatic stay:

          (a)     To enforce their rights in the Property, including foreclosure of liens and a

  foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements,


                                                                                  File No. NM-22-171102
                                                                            Order, Case No. 22-10509-js13
Case 22-10509-j13       Doc 31      Filed 07/29/22      Entered 07/29/22 17:10:06 Page 2 of 4
  and/or other agreements to which Debtor is a party, to the extent permitted by applicable non-

  bankruptcy law, such as by commencing or proceeding with appropriate action against the

  Debtor or the Property, or both, in any court of competent jurisdiction; and

          (b)     To exercise any other right or remedy available to them under law or equity

  with respect to the Property.

          2.      The automatic stay is not modified to permit any act to collect any deficiency

  or other obligation as a personal liability of the Debtor, although the Debtor can be named as

  a defendant in litigation to obtain an in rem judgment or to repossess the Property in

  accordance with applicable non-bankruptcy law, unless this matter is dismissed or Debtor

  otherwise do not receive a discharge of this debt.

          3.      This Order does not waive Movant’s claim against the estate for any

  deficiency owed by the Debtor after any foreclosure sale or other disposition of the Property.

  Movant may file an amended proof of claim in this bankruptcy case within 30 days after a

  foreclosure sale of the Property, should it claim that Debtor owes any amount after the sale of

  the Property.

          4.      This Order shall continue in full force and effect if this case is dismissed or

  converted to a case under another chapter of the Bankruptcy Code.

          5.      This Order is effective and enforceable upon entry. The 14-day stay

  requirement of Fed.R.Bankr.P. 4001(a)(3) is waived.

          6.      Movant is further granted relief from the stay to engage in loan modification

  discussions or negotiations or other settlement discussions with the Debtor(s) and to enter

  into a loan modification with the Debtor(s).

                                    ###END OF ORDER###



                                                                                 File No. NM-22-171102
                                                                           Order, Case No. 22-10509-js13
Case 22-10509-j13       Doc 31     Filed 07/29/22      Entered 07/29/22 17:10:06 Page 3 of 4
  RESPECTFULLY SUBMITTED BY:


  /s/ Jason Bousliman
  McCarthy & Holthus, LLP
  Jason Bousliman, Esq.
  Attorneys for Movant,
  6501 Eagle Rock NE, Suite A-3
  Albuquerque, NM 87113
  (505) 219-4900
  /s/ submitted electronically 7/27/2022
  jbousliman@mccarthyholthus.com


  Copies to:

  DEBTOR
  Richard Jerome Jaramillo
  215 Calle Roble
  Santa Fe, NM 87501


  CASE TRUSTEE
  Tiffany M. Cornejo
  courtemail@ch13nm.com

  US TRUSTEE
  PO Box 608
  Albuquerque, NM 87103-0608


  SPECIAL NOTICE
  State of New Mexico, Taxation and Revenue Department
  ASwenson@nmag.gov




                                                                       File No. NM-22-171102
                                                                 Order, Case No. 22-10509-js13
Case 22-10509-j13     Doc 31    Filed 07/29/22   Entered 07/29/22 17:10:06 Page 4 of 4
